              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                      CRIMINAL CASE NO. 1:09cr13-8


UNITED STATES OF AMERICA,        )
                                 )
          vs.                    )                 ORDER
                                 )
KENNETH LEE FOSTER.              )
________________________________)

      THIS MATTER is before the Court on the Defendant’s Motion to

Release all Jenks (sic) 3500 Material Along with Grand Jury Transcript under

Fed. R. Crim. Pro. 6(e)(3)(c)(i)(ii) [Doc. 603].

      The Defendant was found guilty after jury trial of conspiracy to possess

with intent to distribute cocaine base and use of a communications device to

facilitate the distribution of a controlled substance, in violation of 21 U.S.C.

§§846 & 843(b). [Doc. 347]. He was sentenced to 360 months imprisonment

on Count One and 96 months of imprisonment on Count Two, to run

concurrently. [Id.]. The Defendant’s conviction and sentence were affirmed

by the United States Fourth Circuit Court of Appeals in March 2011. United

States v. Foster, 416 F. App’x. 304 (4 th Cir. 2011), cert. denied,     S.Ct.     ,

2011 WL 4532486 (2011).

      The record does not show that the Defendant has filed a motion




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pursuant to 28 U.S.C. §2255. In this motion, the Defendant refers to the

necessity of obtaining Jencks Act material, 18 U.S.C. §3500, and a transcript

of the grand jury proceedings in his case to use in preparation of such a

motion.

      To the extent that the Defendant seeks discovery of purported Jencks

Act material, he has not filed a civil action pursuant to §2255. Thus, the Rules

Governing Section 2255 Proceedings for the United States District Courts are

not yet implicated. The Defendant’s criminal case is concluded, the Fourth

Circuit has affirmed his conviction and sentence, and discovery is not

available in this proceeding. Prisoners are not entitled to copies of materials

produced during discovery or at trial absent a showing of particularized need.

United States v. Lewis, 1994 U.S. LEXIS 35656, 37 F.3d 1510 (10 th Cir. 1994)

(applying standard to request for pretrial records); Wallace v. United States,

2007 WL 4568971 (W.D.N.C. 2007); United States v. Adams, 2007 WL

1302543 (D.Kan. 2007) (plea agreement).

      To the extent that the Defendant seeks grand jury transcripts, transcripts

may not be furnished at government expense unless this Court "certifies that

the suit ... is not frivolous and that the transcript is needed to decide the issue

presented by the suit[.]" 28 U.S.C. §753(f). There is no suit pending with this



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Court.

      Moreover, federal inmates are not entitled to transcripts at Government

expense for collateral attacks on their convictions absent some showing of a

particularized need. United States v. MacCollom, 426 U.S. 317, 326-27, 96

S.Ct. 2086, 48 L.Ed.2d 666 (1976); United States v. Davis, 369 F.App’x. 546

(5 th Cir. 2010); United States v. Parker, 273 F.A’ppx. 243, 244 (4 th Cir. 2008);

Alexander v. Evatt, 1994 U.S. App. LEXIS 18445, 23 F.3d 399 (4 th Cir. 1994).

"An indigent is not entitled to a transcript at government expense without a

showing of need, merely to comb the record in the hope of discovering some

flaw." Jones v. Superintendent, Virginia State Farm, 460 F.2d 150, 152 (4th

Cir. 1972), cert. denied 410 U.S. 944, 93 S.Ct. 1380, 35 L.Ed.2d 611 (1973).

      In addition, grand jury materials may not be disclosed absent a “strong

showing of particularized need.” United States v. Sells Engineering, Inc., 463

U.S. 418, 443, 103 S.Ct. 3133, 77 L.Ed.2d 743 (1983); United States v. Silva,

745 F.2d 840, 845 (4 th Cir. 1984), cert. denied 470 U.S. 1031, 105 S.Ct. 1404,

84 L.Ed.2d 791 (1985).      Speculation by the Defendant that irregularities

occurred before the grand jury is not sufficient to show a particularized need.

United States v. Chase, 372 F.2d 453, 466 (4 th Cir. 1967), cert. denied 387

U.S. 907, 87 S.Ct. 1688, 18 L.Ed.2d 626 (1967). Likewise, “across the board



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fishing expeditions” do not constitute a “particularized need.” United States

v. Kin, 577 F.2d 473, 478 (9 th Cir. 1978).

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to Release

all Jenks (sic) 3500 Material Along with Grand Jury Transcript under Fed. R.

Crim. Pro. 6(e)(3)(c)(i)(ii) [Doc. 603] is hereby DENIED.

                                        Signed: March 5, 2012




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